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6                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
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      UNITED STATES OF AMERICA,
8
                       Plaintiff,               NO. CR-05-2075-7-EFS
9
                 v.
10                                              ORDER DENYING, WITH LEAVE TO
      ALICE ESPINOZA (7),                       RENEW, DEFENDANT ESPINOZA’S
11                                              MOTION TO DISMISS SUPERCEDING
                       Defendant.               INDICTMENT
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          A hearing was held in the above-captioned matter on January 17,
14
     2006.   Defendant Alice Espinoza was present, represented by Ed Alden.
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     Assistant United States Attorney Jane Kirk appeared on behalf of the
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     United States.     Before the Court was Ms. Espinoza’s Motion to Dismiss
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     Superceding Indictment as to Alice Espinoza (Ct. Rec. 823).                         After
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     reviewing the submitted material and relevant legal authority and hearing
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     oral argument, the Court was fully informed.                   This Order serves to
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     supplement and memorialize the Court’s oral ruling denying, with leave
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     to renew, Ms. Espinoza’s motion.
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          Ms. Espinoza asks the Court to dismiss the Superseding Indictment
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     against her, maintaining the Government has no evidence to support the
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     counts that relate to her: Count 1 (conspiracy), Count 8 (Maintaining a
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     Place for Drug Trafficking in violation of 21 U.S.C. § 856(a)(2)), Count
26


     ORDER * 1
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1    21 (Use of Communication Facility in violation of 21 U.S.C. § 846 &

2    841(a)(1)), and Count 22 (Possession of Marijuana in violation of 21

3    U.S.C. § 843(b)).              The Government highlights a Federal Rule of Criminal

4    Procedure 29 motion is the method by which Defendant can seek dismissal

5    of the indictment, noting a Rule 29 motion is appropriate only after the

6    Government has rested at trial.

7            The Court finds Defendant has failed to point to legal authority

8    allowing the Court to dismiss charges prior to trial; neither has the
9    Court found such authority.                    Accordingly, the Court finds Defendant’s

10   dismissal motion is premature; Defendant may renew such motion when

11   appropriate under Rule 29 or upon the filing of a brief explaining the

12   Court’s authority to dismiss charges prior to the Government resting at

13   trial.         For these reasons, IT IS HEREBY ORDERED:                       Defendant Alice

14   Espinoza’s Motion to Dismiss Superceding Indictment as to Alice Espinoza

15   (Ct. Rec. 823) is DENIED, with leave to renew.

16           IT IS SO ORDERED. The District Court Executive is directed to enter

17   this order and to provide copies to all counsel.

18           DATED this 17th day of January, 2006.

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20                                          S/ Edward F. Shea
                                               EDWARD F. SHEA
21                                      United States District Judge

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     ORDER * 2
